Case 1:21-cv-11205-FDS Document 182-100 Filed 01/06/25 Page1of4

FILED PARTIALLY UNDER SEAL

Exhibit 100

November 6, 2023 Notice
(Excerpt of Exhibit A Included As Exhibit 101)
Case 1:21-cv-11205-FDS Document 182-100 Filed 01/06/25 Page 2of4

Catalina Re

November 6, 2023 Catalina U.S. Insurance Services LLC
5 Batterson Park Road, 3™ Floor
Jeffrey Silver Farmington, CT 06032

Pennsylvania Insurance Company Catalinare.com

. Administrator on behalf of:
10805 Old Mill oad Alea North America Insurance Company
Omaha, NE 68154 National American Insurance Company of California
National Home Insurance Company (RRG)
SPARTA Insurance Company

Members of Catalina Holdings (Bermuda) Lid.

Re: Indemnification Claim
Dear Mr. Silver

[ write on behalf of SPARTA in reference to the Stock Purchase Agreement CSPA")
among Pennsylvania General Insurance Company ("PGIC"), OneBeacon Insurance Company
("OneBeacon"), and SPARTA Insurance Holdings, Inc. ("SPARTA") dated as of March 12,
2007.

SPARTA has previously provided Pennsylvania Insurance Company ("PIC," formerly
PGIC) with notice of various claims under Section 8.1 of the SPA. which relate to insurance
policies originally issued by American Employers’ Insurance Company ("AEIC"), for which
PGIC agreed to indemnify SPARTA under the SPA. SPARTA also reserved its right to advise
PIC of the dollar amount of each such claim at a later date.

In prior correspondence on November 7, 2022 and September 28, 2023, SPARTA
advised PIC that it had expended a total of Redacted lon the previously noticed claims
through August 31, 2023, and| Redacted jin service fees paid to A.G. Risk Management Inc. for
processing those claims. SPARTA also informed PIC that it reserved the right to provide PIC
with notices regarding additional amounts expended. To date, PIC has not made any payments
to SPARTA.

Pursuant to Section 8.3 of the SPA, SPARTA hereby advises PIC that SPARTA has
expended an additional Redacted _| on the previously noticed claims between September 1,
2023 through September 30, 2023, and an additional[Redacted] in service fees paid to A.G. Risk
Management Inc. for processing those claims. See Exhibit A. Please promptly remit payment
io SPARTA of that amount.

PIC is responsible for the handling and defense of these claims under the SPA and the
Instrument of Transfer and Assumption between PGIC and AEIC dated June 15, 2005. Until
PIC confirms that it will satisfy its contractual obligations to SPARTA by administering and
paying these claims, SPARTA may continue to protect its interest and reserves all rights. The

Sst

Date: }Q 2 9° a>
T. Alfaro

CONFIDENTIAL SPARTA-00091837

Case 1:21-cv-11205-FDS Document 182-100 Filed 01/06/25 Page 3of4

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amounts set forth on Exhibit A are provided without prejudice to SPARTA's right to recover
additional amounts expended after October 31, 2023 in furtherance of resolving these or other
claims for which PIC is responsible, and to SPARTA's right to recover legal fees as incurred or
will incur due to PGIC’s failure to satisfy its obligations to SPARTA. SPARTA will provide
PIC with any such additional amounts expended by SPARTA periodically.

Please contact me if you need additional information or believe any of this is incorrect.

J) «

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Enclosure

cc: Samuel C. Kaplan, counsel for PIC (via email w/enclosure)

Page 2

CONFIDENTIAL SPARTA-00091838
Case 1:21-cv-11205-FDS Document 182-100 Filed 01/06/25 Page4of4

Excerpt of Exhibit A
Included As Exhibit 101
